Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 1 of 15. PageID #: 798




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 JOHN DOE,                                    )       CASE NO.1:14CV2044
                                              )
                       Plaintiff,             )      JUDGE CHRISTOPHER A. BOYKO
                                              )
                 Vs.                          )
                                              )
 CASE WESTERN RESERVE UNIV.                   )       OPINION AND ORDER
 ET AL.,                                      )
                                              )
                       Defendant.             )

 CHRISTOPHER A. BOYKO, J:

         This matter is before the Court on Motion by Defendants Case Western Reserve

 University (“CWRU”), Cleveland Clinic Foundation, d.b.a. Cleveland Clinic Lerner College

 of Medicine of Case Western Reserve University (“Lerner College”), and Dr. Kathleen

 Franco (“Franco”) to Dismiss Plaintiff John Doe’s (“Plaintiff”) Claims for Failure to State a

 Claim upon which Relief can be Granted pursuant to Federal Rule of Civil Procedure

 12(b)(6). For the following reasons, the Court grants Defendants’ Motion and dismisses

 Plaintiff’s claims.

 Standard of Review

         “In reviewing a motion to dismiss, we construe the complaint in the light most
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 2 of 15. PageID #: 799



 favorable to the plaintiff, accept its allegations as true, and draw all reasonable inferences in

 favor of the plaintiff.” Directv, Inc. v. Treesh, 487 F.3d 471,476 (6th Cir.2007). Factual

 allegations contained in a complaint must “raise a right to relief above the speculative level.”

 Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007). Twombly does not “require heightened fact

 pleading of specifics, but only enough facts to state a claim to relief that is plausible on its

 face.” Id. at 570. Dismissal is warranted if the complaint lacks an allegation as to a necessary

 element of the claim raised. Craighead v. E.F. Hutton & Co., 899 F.2d 485 (6th Cir.1990).

 The United States Supreme Court, in Ashcroft v. Iqbal, 556 U.S. 662 (2009), discussed

 Twombly and provided additional analysis of the motion to dismiss standard:

         In keeping with these principles a court considering a motion to dismiss can choose to
         begin by identifying pleadings that, because they are no more than conclusions, are
         not entitled to the assumption of truth. While legal conclusions can provide the
         framework of a complaint, they must be supported by factual allegations. When there
         are well-plead factual allegations a court should assume their veracity and then
         determine whether they plausibly give rise to an entitlement to relief.

 Id. at 679.

         Therefore, for the purposes of this Motion to Dismiss, the Court accepts the Plaintiff’s

 factual allegations as true and construes the Complaint in the light most favorable to Plaintiff.

 However, the Court will not credit the Complaint’s mere conclusory statements without

 reference to its factual context. Id. at 686.

 Factual Background

         On the evening of April 13, 2013, Plaintiff, a student at Lerner College, went out in

 downtown Cleveland with several classmates. At the end of the evening, Plaintiff took a cab

 to Cleveland Heights with his classmates, including Jane Roe. Both Plaintiff and Jane Roe

 had been drinking. Although his girlfriend was out of town, Plaintiff planned to spend the

                                                  2
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 3 of 15. PageID #: 800



 night at his girlfriend’s apartment in Cleveland Heights. However, upon arriving in

 Cleveland Heights, Jane Roe asked Plaintiff to accompany her in the taxi to her residence in

 Bratenahl. Plaintiff agreed. (Compl. ¶ 2-3).

        After arriving at her residence, Jane Roe told Plaintiff to stay at her home for the

 evening. Jane Roe agreed for Plaintiff to sleep in her bed. Plaintiff and Jane Roe then

 engaged in consensual sexual contact. The next morning, Plaintiff and Jane Roe discussed

 the sexual contact. Both Plaintiff and Jane Roe were concerned because they were in

 relationships with other people. (Id. ¶ 4).

        Jane Roe surprised Plaintiff a couple weeks later by telling him that she blamed

 Plaintiff entirely for the sexual contact that had occurred between them. (Id. ¶ 5). Jane Roe

 and Plaintiff were part of the same academic group at Lerner College. On July 23, 2013,

 three months after the April 13 incident, Jane Roe made a request to her advisor that she be

 removed to a different group, alleging that Plaintiff had sexually assaulted her as justification

 for the move. Jane Roe later repeated this accusation to Franco, Associate Dean of

 Admission and Student Affairs at Lerner College. After Jane Roe’s report to Franco, in

 which she alleged that Plaintiff had also sexually assaulted another student, Plaintiff was

 charged under CWRU’s Sexual Assault Policy on July 25, 2013, and was issued a no-contact

 order in regards to Jane Roe. (Id. ¶ 40-44).

        A three-person CWRU University Judicial Board (“UJB”) held a hearing on Plaintiff’s

 case on August 8, 2013. Plaintiff was permitted to review a redacted version of the case file

 before his hearing, though not all of the evidence CWRU had collected was included in the

 case file. Plaintiff was allowed to have a silent support person, who was not allowed to


                                                 3
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 4 of 15. PageID #: 801



 participate in the proceedings, present at the hearing. (Id. ¶ 7). During the hearing, Plaintiff

 was not allowed in the same room as Jane Roe. Plaintiff was required to direct his questions

 to the UJB. The UJB would then direct the questions to Jane Roe. However, the UJB refused

 to ask certain questions in regards to written and verbal exchanges between Jane Roe and

 Plaintiff. The UJB, and Chairperson Donald Kamalsky in particular, treated Plaintiff in a

 hostile fashion during the hearing. (Id. ¶ 7; 49-50).

        Upon completion of the hearing, the UJB found that Plaintiff had violated CWRU’s

 sexual assault policy because Jane Roe was intoxicated and could therefore not consent to

 sexual contact. (Id. ¶ 52). The UJB suspended Plaintiff from his studies for one year. The

 UJB also declared Plaintiff a persona non grata at CWRU and Lerner College during the one-

 year suspension, continued the no contact order and required that Plaintiff create a behavioral

 plan and submit to a drug and alcohol assessment. The UJB considered expelling Plaintiff but

 rejected this measure as too severe. Plaintiff was not permitted to appeal the UJB’s findings.

 However, Plaintiff appealed the sanctions through a written statement. Plaintiff was not

 permitted to appear in front of the Appeal Review Panel (“ARP”) personally. Plaintiff’s

 appeal was denied by the ARP. (Id. ¶ 53-55). Plaintiff later found out an anonymous letter

 that he had not been allowed to review, was admitted into the evidence. Franco and Jane Roe

 pressured the author into writing the letter. (Id. ¶ 60).

        Following the UJB hearing, the Lerner College’s Medical Student Promotion and

 Review Committee (“MSPRC”) met to review Plaintiff’s performance at Lerner College

 based on the UJB adjudication. Plaintiff was not notified about this hearing and did not

 attend. Franco provided flawed testimony and evidence against Plaintiff at the hearing,


                                                  4
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 5 of 15. PageID #: 802



 including the letter that Franco had pressured a student into writing. (Id. ¶ 63-64).

         The MSPRC informed Plaintiff by letter on September 27, 2013, of its decision to

 expel Plaintiff from Lerner College. Plaintiff appealed the expulsion. An appeal hearing was

 held by Lerner College on October 24, 2013. Lerner College informed Plaintiff by letter that

 it had affirmed his expulsion on October 25, 2013. (Id. ¶ 11).

         On November 22, 2013, Plaintiff received a letter from CWRU School of Medicine’s

 Committee on Students (“Committee”), informing Plaintiff that the Committee had passed a

 motion upholding his expulsion. Plaintiff was not previously notified about the meeting to

 consider the motion and was provided no opportunity to present a written defense, in violation

 of CWRU School of Medicine’s policies. (Id. ¶ 70-71).

         During the course of the academic disciplinary proceedings, a police report was filed

 in regards to the April 13 incident. A Cuyahoga County Grand Jury declined to indict

 Plaintiff. (Id. ¶ 73).

         Plaintiff’s educational and professional opportunities have been severely limited by

 his expulsion. Lerner College recognized Plaintiff as a “stellar student” prior to the

 disciplinary proceedings at issue here. (Id. ¶ 75). However, the expulsion has so tarnished

 Plaintiff’s academic and disciplinary record that he will be unable to gain admission to

 another medical school. The resources Plaintiff expended on his academic career were

 squandered. (Id. ¶ 76-77).

         Following his expulsion, Plaintiff filed a Complaint in the U.S. District Court for the

 Northern District of Ohio alleging: (I) Violations of Title IX’s Prohibition on Discrimination

 on the Basis of Sex and Violations of Department of Education and Department of Justice


                                                 5
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 6 of 15. PageID #: 803



 regulations requiring “prompt and equitable resolution” of student complaints by Defendant

 CWRU; (II) Violations of Title IX’s Deliberate Indifference Standard by Defendant CWRU;

 (III) Breach of Contract by Defendant CWRU; (IV) Breach of Contract by Defendant Lerner

 College; (V) Breach of Covenants of Good Faith and Fair Dealing by CWRU and Lerner

 College; (VI) Estoppel and Reliance against Defendants CWRU and Lerner College; (VII)

 Intentional Infliction of Emotional Distress against all Defendants; (VIII) Slander Per Se

 against Defendant Franco; and (IX) Negligence against all Defendants. Plaintiff further

 requests (X) Declaratory Judgment that the findings of Defendants CWRU and Lerner

 College’s disciplinary proceedings are invalid; and (XI) Injunctive Relief requiring

 Defendants CWRU and Lerner College to reinstate Plaintiff’s student status and scholarship

 and to remove all references of violations from Plaintiff’s educational record.

 Plaintiff’s Title IX Claim

        Title IX states, in relevant part, that “[n]o person in the United States shall, on the

 basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

 discrimination under any education program or activity receiving Federal financial

 assistance.” 20 U.S.C. §1681(a). The Department of Education and the Department of

 Justice have also adopted regulations that require schools to “adopt and publish grievance

 procedures providing for the prompt and equitable resolution of student […] complaints

 alleging any action that would be prohibited by” Title IX regulations. 34 C.F.R. §106.8(b);

 28 C.F.R. §54.135(b).

        Defendants argue that Plaintiff’s Complaint fails to state a claim for relief because

 alleged failures by a university to comply with Title IX regulations do not give rise to a


                                                 6
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 7 of 15. PageID #: 804



 private right of action. (Doc. 17, 108). Defendants are correct insofar as allegations that an

 educational institution failed to promulgate a grievance procedure or comply with other Title

 IX administrative requirements, with nothing further, do not give rise to a private cause of

 action. Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 292 (1998). However, the Sixth

 Circuit has recognized a private right of action under Title IX where a plaintiff alleges that an

 educational institution implemented disciplinary actions that discriminated against the

 plaintiff based on sex. Mallory v. Ohio Univ., 76 F. App'x 634, 638-39 (6th Cir. 2003), citing

 Yusuf v. Vassar College, 35 F.3d 709 (2d Cir. 1994).

        “Title IX claims […] arising from disciplinary hearings are analyzed under the

 ‘erroneous outcome’ standard, ‘selective enforcement’ standard, ‘deliberate indifference’

 standard, and ‘archaic assumptions’ standard.” Doe v. Univ. of the S., 687 F. Supp. 2d 744,

 756 (E.D. Tenn. 2009), citing Mallory, 76 F. App’x at 638. Under the erroneous outcome

 standard, a plaintiff attempts to demonstrate that he was innocent of the charges presented and

 wrongly found to have committed an offense in an educational institution’s disciplinary

 proceedings. Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994). Under the selective

 enforcement standard, a plaintiff attempts to show that, “regardless of the student's guilt or

 innocence, the severity of the penalty and/or the decision to initiate the proceeding was

 affected by the student's gender.” Id. A showing of deliberate indifference “requires the

 plaintiff to demonstrate that an official of the institution who had authority to institute

 corrective measures had actual notice of, and was deliberately indifferent to, the misconduct.”

 Mallory, 76 F. App'x at 638, citing Gebser, 524 U.S. 274. A showing of archaic assumptions

 requires the plaintiff to demonstrate “discriminatory intent in actions resulting from


                                                  7
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 8 of 15. PageID #: 805



 classifications based upon archaic assumptions.” Id. at 638-39 (internal citations omitted).

 Under each of these standards, a plaintiff must demonstrate that the educational institution’s

 challenged misconduct was motivated by sex-based discrimination. Id. at 639.

        Plaintiff’s Complaint unnecessarily separates his Title IX grievances into two distinct

 claims against CWRU; one for violation of Title IX and one for violation of Title IX’s

 deliberate indifference standard. The deliberate indifference standard is a means of analyzing

 a plaintiff’s Title IX claim arising from disciplinary hearings. Mallory, 76 F. App’x at 638.

 Plaintiff’s claim for relief arises out of his treatment by CWRU in the course of disciplinary

 hearings. Therefore, Plaintiff’s second claim (violation of deliberate indifference standard)

 will be analyzed as part of his first claim (violation of Title IX), as “deliberate indifference” is

 simply one standard by which to determine whether CWRU’s treatment of Plaintiff during

 disciplinary hearings violated Title IX.

        Plaintiff’s Complaint alleges that “[a]s a direct result of CWRU’s discriminatory

 practices […] [Defendants] […] reached an erroneous outcome” in their respective

 disciplinary hearings. (Compl. ¶ 93). The Complaint also alleges that the “Defendants

 imposed sanctions on Plaintiff that were disproportionate to the severity of the charges levied

 against him […].” (Id. ¶ 90). As such, the Complaint alleges Title IX violations based on the

 erroneous outcome, selective enforcement and deliberate indifference standards. The

 Complaint does not allege a violation based on the archaic assumptions standard.

 Erroneous Outcome

        Plaintiff’s Complaint contains sufficient factual allegations under the ‘erroneous

 outcome’ standard to establish a plausible claim that Plaintiff was innocent of the charges


                                                  8
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 9 of 15. PageID #: 806



 levied against him and that CWRU wrongly found that Plaintiff committed the offense.

 Plaintiff alleged that Franco pressured a student to provide evidence against Plaintiff and that

 Plaintiff was not permitted to review this evidence in developing a defense. Plaintiff also

 alleges that he was denied the right to effectively cross-examine Jane Roe and was treated in

 hostile fashion at the UJB hearing. These factual allegations are sufficient “to cast some

 articulable doubt on the accuracy of the outcome of the disciplinary proceeding.” Yusuf, 35

 F.3d at 715.

        However, Plaintiff’s Complaint must also plausibly allege that CWRU’s actions “were

 motived by sexual bias” or that its “disciplinary hearing process constitutes a ‘pattern of

 decision-making’ whereby the […] disciplinary procedures governing sexual assault claims is

 ‘discriminatorily applied or motivated by a chauvinistic view of the sexes’” to meet the

 ‘erroneous outcome’ standard. Doe v. Univ. of the S., 687 F. Supp. 2d at 756, citing Mallory,

 76 F.App’x at 640 (internal citation omitted). Here, Plaintiff fails to make factual allegations

 that create a plausible claim that the motivating factor behind the erroneous finding was

 CWRU’s sexual bias.

        Plaintiff’s Complaint relies on conclusory statements in an effort to establish a

 plausible claim that CWRU was motivated by sexual bias in arriving at an erroneous finding

 in its disciplinary proceedings against Plaintiff. Plaintiff twice states that, “[u]pon

 information and belief, CWRU’s preferential treatment of Jane Roe over Plaintiff is

 undeniably linked to her female gender and against Plaintiff’s male gender.” (Compl. ¶ 51;

 72). Plaintiff points to procedural defects in the disciplinary hearings as evidence of

 discriminatory bias. The Complaint also alleges that CWRU’s decision was “discriminatory,


                                                  9
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 10 of 15. PageID #: 807



  presumptive and/or arbitrary and capricious” based on the hostile attitude of the UJB towards

  Plaintiff during proceedings. (Compl. ¶ 7; 87; 89). While these pleadings may call to

  question the outcome of the proceedings, they are not factual allegations supporting the

  conclusion that the procedural flaws and hostility towards Plaintiff were motivated by sexual

  bias.

          While legal conclusions can provide the framework of a complaint, they must be

  supported by factual allegations. Iqbal, 556 U.S. at 679. Here, Plaintiff’s Complaint fails to

  plead any factual allegations that support the conclusion that CWRU discriminated against

  Plaintiff based on his sex. “Such allegations might include, inter alia, statements by members

  of the disciplinary tribunal, statements by pertinent university officials, or patterns of

  decision-making that also tend to show the influence of gender.” Yusuf, 35 F.3d at 715.

  However, a single case by an individual who was displeased by the result of a disciplinary

  proceeding cannot constitute a pattern of decision-making. Univ. of the S., 687 F. Supp. 2d at

  756, citing Mallory, 76 F.App’x at 640 (internal citation omitted).

          A “[p]laintiff’s subjective belief that he was the victim of discrimination – however

  strongly felt – is insufficient to satisfy his burden at the pleading stage.” Doe v. Columbia

  Univ., 2015 WL 1840402 at 11 (S.D.N.Y.) (internal references omitted), appeal taken, No.

  15-1661 (2d Cir.). Plaintiff’s Complaint fails to state a claim for which relief can be granted

  under Title IX’s ‘erroneous outcome’ standard because the Complaint’s factual allegations

  fall short of plausibly suggesting that CWRU’s actions were motivated by sex-based bias.

  Selective Enforcement

          Plaintiff’s attempt to establish a Title IX claim under the selective enforcement


                                                  10
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 11 of 15. PageID #: 808



  standard fails for the same reason. A selective enforcement claim demonstrating gender bias

  must be supported with evidence “that a female was in circumstances sufficiently similar to

  [plaintiff’s] and was treated more favorably by the University.” Mallory, 76 F. App’x at 641,

  citing Curto v. Smith, 248 F.Supp.2d 132, 146-47 (N.D. N.Y. 2003). In other words, a

  plaintiff demonstrates selective enforcement through the identification of a comparator of the

  opposite sex who was treated more favorably by the educational institution when facing

  similar disciplinary charges. See Yusuf, 35 F.3d at 716. Here, Plaintiff’s Complaint fails to

  identify any female counterpart to support his selective enforcement claim. Jane Roe, the

  complainant against Plaintiff in the disciplinary proceedings, is not a counterpart for the

  purposes of a selective enforcement claim. See Sterrett v. Cowan, No. 14-CV-11619, 2015

  WL 470601 at *16 (E.D. Mich. Feb. 4, 2015), appeal filed, No. 15-1121 (6th Cir.).

  Plaintiff’s attempt to establish a selective enforcement claim by alleging that “CWRU’s

  guidelines and regulations disproportionately affect the male student population of the CWRU

  community as a result of the higher incidence of female complainants of sexual misconduct

  against male complainants of sexual misconduct” misconstrues the standard. (Compl. ¶ 91).

  That CWRU’s policy disproportionately affects males as a result of the higher number of

  complaints lodged against males does not demonstrate selective enforcement by the

  university. Rather, “a plaintiff must allege facts sufficient to give rise to an inference that the

  school intentionally discriminated against the plaintiff because of his or her sex […].” Doe v.

  Columbia Univ., 2015 WL 1840402 at 15 (internal citations omitted). Plaintiff’s Complaint

  fails to do so. As such, Plaintiff has not stated a claim for which relief can be granted under

  Title IX’s selective enforcement standard.


                                                  11
    Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 12 of 15. PageID #: 809



      Deliberate Indifference1

              Plaintiff’s Complaint alleges that CWRU “had actual notice of the irresponsible,

      improper and sexually-biased manner in which the allegations against Plaintiff were being

      investigated and adjudicated.” Further, the Complaint states that CWRU had authority to

      institute corrective measures but was deliberately indifferent to the misconduct. The

      Complaint alleges that “CWRU’s deliberate indifference was motivated by Plaintiff’s

      gender.” (Comp. ¶ 95-97).

              Plaintiff’s Complaint contains factual allegations that create a plausible inference that

      CWRU’s disciplinary hearings were procedurally flawed. However, the Complaint does not

      contain factual allegations that plausibly suggest that these flaws were based on bias against

      Plaintiff’s gender. Further, to state a claim for relief under Title IX’s deliberate indifference

      standard, Plaintiff is required to make factual allegations that support an inference that

      CWRU’s refusal to rectify procedural defects was motivated by sex-based discrimination.

      See Mallory, 76 F. App'x at 639. Plaintiff’s conclusory statement that “CWRU’s deliberate

      indifference was motivated by Plaintiff’s gender” does not meet this pleading standard.

      Therefore, Plaintiff’s Complaint fails to state a claim for relief under Title IX’s deliberate

      indifference standard.

1

       District courts within the Sixth Circuit disagree as to whether a plaintiff must allege sexual
      harassment by the educational institution as a “critical component” of a deliberate indifference claim.
      See Sahm v. Miami Univ., No. 1:14-CV-698, 2015 WL 93631, at *n.1 (S.D. Ohio Jan. 7, 2015), quoting
      Doe v. Univ. of the S., 687 F. Supp. 2d 744, 756 (E.D. Tenn. 2009). Whereas the court in Univ. of the S.
      held sexual harassment to be essential to a deliberate indifference claim, a sister court in the
      Southern District of Ohio disagreed. See Wells v. Xavier Univ., 7 F.Supp.3d 745, 751-52 (S.D. Ohio
      2014). The Wells court held that a plaintiff can present a prima facie deliberate indifference claim by
      producing evidence that a university has actual knowledge of institutional misconduct, including an
      alleged defective hearing, and fails to correct that misconduct. Id. In the instant case, the Court
      declines to make a determination on this issue as the Plaintiff fails to state a claim for which relief can
      be granted under Title IX for other reasons.

                                                            12
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 13 of 15. PageID #: 810



         Because Plaintiff’s Complaint does not contain factual allegations that plausibly

  suggest that CWRU’s alleged misconduct under the erroneous outcome, selective

  enforcement, or deliberate indifference standards was motivated by sex-based bias,

  Defendants’ Motion to Dismiss is granted as to Plaintiff’s Title IX claims.

  Plaintiff’s Claims for Declaratory Judgment and Injunctive Relief

         Plaintiff seeks a declaratory judgment invalidating the conclusions of the Defendants’

  disciplinary hearings. Federal courts have “unique and substantial discretion in deciding

  whether to declare the rights of the litigants.” Wilton v. Seven Falls Co., 515 U.S. 277, 286,

  115 S. Ct. 2137, 2142, 132 L. Ed. 2d 214 (1995). The Sixth Circuit traditionally focuses on

  the five factors in determining whether a District Court properly exercised its discretion: 1)

  whether the declaratory action would settle the controversy; 2) whether the declaratory action

  would serve a useful purpose in clarifying the legal relations in issue; 3) whether the

  declaratory remedy is being used merely for the purpose of “procedural fencing” or “to

  provide an arena for res judicata”; 4) whether the use of a declaratory action would increase

  friction between our federal and state courts and improperly encroach upon state jurisdiction;

  and 5) whether there is an alternative remedy which is better or more effective. Doe v. Univ.

  of the S., 687 F. Supp. 2d at 759-60, citing Grand Trunk W. R.R. Co. v. Consol. Rail Co., 746

  F.2d 323, 326 (6th Cir.1984).

         Here, the Court has already determined that Plaintiff failed to state a claim for relief

  under Title IX. Without an actionable claim, there is no controversy to be settled. A

  declaratory action is unnecessary. Therefore, Defendants’ Motion to Dismiss Plaintiff’s claim

  for Declaratory Judgment is granted.


                                                 13
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 14 of 15. PageID #: 811



         Similarly, injunctive relief is not available where a plaintiff’s underlying claims lack

  merit. Mason & Dixon Lines Inc. v. Steudle, 683 F.3d 289, 297 (6th Cir. 2012), citing Winter

  v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008).

  Plaintiff requests injunctive relief requiring Defendants to reinstate him as a student and

  remove references of violations from his educational records. However, Plaintiff’s Complaint

  failed to state a claim under Title IX upon which relief can be granted. Therefore, Plaintiff’s

  underlying claim lacks merit and Defendants’ Motion to Dismiss his claim for Injunctive

  Relief is granted.

  Plaintiff’s Remaining State-Law Claims

         In light of the Court’s dismissal of Plaintiff’s Title IX claims and claims for

  Declaratory Judgment and Injunctive Relief, the Court declines to exercise supplemental

  jurisdiction over the remaining state-law claims. Generally, a district court will dismiss state-

  law claims without prejudice if federal claims are dismissed prior to trial. Mallory, 76

  F.App’x at 641, citing United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726, 86 S.Ct.

  1130, 16 L.Ed.2d 218 (1996). Accordingly, the Court dismisses Plaintiff’s remaining state-

  law claims without prejudice.

  Conclusion

         Plaintiff’s Complaint failed to state a claim upon which relief can be granted under

  Title IX standards. The Court declines to exercise supplemental jurisdiction over the

  Complaint’s remaining state-law claims. Therefore, the Plaintiff’s Complaint is dismissed

  without prejudice in its entirety.




                                                 14
Case: 1:14-cv-02044-CAB Doc #: 47 Filed: 09/16/15 15 of 15. PageID #: 812



        IT IS SO ORDERED.


                                 s/ Christopher A. Boyko
                                 CHRISTOPHER A. BOYKO
                                 United States District Judge
  Dated: September 16, 2015




                                         15
